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     Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and
                            25-1677 (Consolidated)

           IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                        ––––––––––––––––––––
   ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE
COVERED PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2, A
  LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
             JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                PLAINTIFFS-APPELLEES,
                                  v.
                     WE INFORM LLC, ET AL.

                                                 DEFENDANTS-APPELLANTS.

    On Appeal from the Order and Memorandum of the United States District
        Court for the District of New Jersey dated November 26, 2024

     MOTION FOR LEAVE TO PARTICIPATE AS AMICI CURIAE
        BY CONSUMER DATA INDUSTRY ASSOCIATION,
   SOFTWARE & INFORMATION INDUSTRY ASSOCIATION, AND
      COALITION FOR SENSIBLE PUBLIC RECORDS ACCESS



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                    RULE 26.1 DISCLOSURE STATEMENT

      Amici Curiae Consumer Data Industry Association (CDIA), Software &

Information Industry Association (SIIA), and Coalition for Sensible Public

Records Access (CSPRA) are nonprofit organizations, state that they have no

parent companies, subsidiaries, or affiliates, and do not issue shares to the public.
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         MOTION FOR LEAVE TO PARTICIPATE AS AMICI CURIAE

      Consumer Data Industry Association (CDIA), Software & Information

Industry Association (SIIA), and Coalition for Sensible Public Records Access

(CSPRA) (collectively Amici) respectfully move the Court under Federal Rule of

Appellate Procedure 29(a)(2) for an order granting them leave to participate as

amici curiae. In support of this motion, Amici state the following:

      1.      CDIA is a trade association representing consumer reporting agencies

(“CRAs”), including the nationwide credit bureaus, regional and specialized credit

bureaus, and background check and residential screening companies around the

world.

      2.      Founded in 1909, CDIA promotes the responsible use of consumer

data to help consumers achieve their financial goals and to help businesses,

governments, and volunteer organizations avoid fraud and manage risk.

      3.      CDIA members, through data and analytics, empower economic

opportunity, thereby helping to ensure fair and safe transactions for consumers and

facilitating competition and consumers’ access to financial and other products

suited to their unique needs.

      4.      SIIA is a trade association for software companies and those in

business information and has over 350 member companies, among them publishers

of software and information products, including databases, enterprise and
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consumer software, and other products that combine information with digital

technology.

      5.      SIIA is dedicated to creating a healthy environment for the creation,

dissemination, and productive use of information.

      6.      SIIA member companies serve nearly every segment of society, and

many of its members rely on access to public records.

      7.       CSPRA is a non‐profit organization dedicated to promoting the

principle of open public record access to ensure individuals, the press, advocates,

and businesses have the continued freedom to collect and use the information made

available in the public record for personal, governmental, commercial, law

enforcement, and societal benefit.

      8.      Members of CSPRA are among the many entities that comprise a vital

link in the flow of information for these purposes and provide services that are

widely used by constituents in every state.

      9.      Collectively, CSPRA members employ more than 75,000 persons

across the United States and the economic and societal activity that relies on

entities such as CSPRA members is valued in the trillions of dollars and employs

millions of people.

      10.     Together, Amici’s members are information solutions providers, credit

bureaus, and data analytics firms who collect and add value to lawfully acquired,
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accurate information that is widely available in private hands.

      11.    The freedom to collect and use this data is a fundamental free speech

activity, and the core of the constitutionally protected public domain.

      12.    Amici seek leave to file their proposed brief in support of Appellants

to explain the ways that these services are impacted by the unconstitutional

overbreadth of Daniel’s Law.

      13.    Amici reached out for consent of the parties to file their brief.

Appellees take no position Amici’s request for leave to file. Therefore, Amici file

this motion requesting leave of the Court.


      WHEREFORE, CDIA, SIIA, and CSPRA respectfully request that the Court

enter an order granting them leave to participate as amici curiae and to file their

proposed brief.


Dated: April 28, 2025                           HUDSON COOK, LLP
                                                /s/ Jennifer L. Sarvadi

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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 28th day of April 2025, I electronically filed the

foregoing Motion for Leave to Participate as Amici Curiae with the Clerk of this

Court using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished using the CM/ECF

system.




                                               HUDSON COOK, LLP

                                               By /s/ Jennifer L. Sarvadi
                                                   Jennifer L. Sarvadi

                                               Counsel for Amici Curiae
                                               Consumer Data Industry Association
                                               Software & Information Industry
                                               Association, and Coalition for
                                               Sensible Public Records Access
